Case 1:20-cr-00158-CMA Document 6 Filed 05/03/20 USDC Colorado Page 1 of 1




                          UNITED STATES DISTRICT COURT
                                                    for the
                                     District of Colorado
                  United States of America               )
                                                         )
                             v.                          )
                                                         )                Case No.      20-mj-00054-NYW
                     BRADLEY BUNN                        )
                        Defendant(s)                     )

                                    CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief:
On or about May 1, 2020, in the State and District of Colorado, the defendant, BRADLEY BUNN,
knowingly possessed a firearm, specifically, a destructive device as defined in Title 18 United
States Code, Section 5845(a)(8) and 5845(f), which was not registered to him in the National
Firearms Registration and Transfer Record.


       Code Section                                       Offense Description
       26 U.S.C. §§ 5841, 5845, 5861(d), and 5871         Possessing Unregistered Firearms

       This criminal complaint is based on these facts:
       See Affidavit attached hereto and herein incorporated by reference.
       X   Continued on attached sheet.

                                                                            Complainant’s signature

                                                                                                    SA, FBI
                                                                           Printed name and title

Sworn to before me and:         signed in my presence.
                                submitted, attested to, and acknowledged by reliable electronic means.

       02August
          May 2020
Date: _______   25, 2012                                                            _____________________
                                                                                    ____________
                                                                                              _ ___________
                                                                                                         ___
                                                                                     JJudge’s
                                                                                      Ju dge’s
                                                                                         dg e s sign
                                                                                                signature
                                                                                                signa
                                                                                                  gnature
                                                                                 Nina
                                                                                 NinaY.Wang
                                                                                   n Y Wang
                Denver,Colorado
City and state:___________________                                                 _____________________
                                                                                 UnitedStatesMagistrateJudge
                                                                                    Printed name and title
